Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 1 of 30 PageID #: 1




                     UNITED STATES DISTRICT COURT
                       DISTRICT OF RHODE ISLAND

 ARIEL MACKLIN on Behalf of
 Herself and on Behalf of All Others
 Similarly Situated,                          Civil Action No.: 19-cv____

       Plaintiff,                             COLLECTIVE ACTION

 v.                                           COMPLAINT FOR DAMAGES
                                              & DEMAND FOR JURY TRIAL
 BISCAYNE HOLDING CORP.
 d/b/a WILD ZEBRA and
 CHRISTOPHER VIANELLO,


       Defendants.



      Plaintiff ARIEL MACKLIN (“Plaintiff” or MACKLIN), individually and
on behalf of all others similarly situated, alleges the following upon information
and believe, based upon investigation of counsel, published reports, and personal
knowledge:
I.    NATURE OF THE ACTION
      1.     Plaintiff ARIEL MACKLIN (“Plaintiff” or MACKLIN), and all
persons similarly situated, and alleges causes of action against defendants
BISCAYNE HOLDING CORP. d/b/a WILD ZEBRA, a purported Florida business
entity operating a Rhode Island strip club, and CHRISTOPHER VIANELLO, and
individual (collectively, “Defendants”) for damages.
      2.     The Defendants required and/or permitted Macklin, and all those
similarly situated, to work as an exotic dancer at their adult entertainment club
“Wild Zebra” in Providence County, Rhode Island, in excess of forty (40) hours


                                          1
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 2 of 30 PageID #: 2




per week, but refused to compensate her at the applicable minimum wage and
overtime rates under both Federal and Rhode Island law. In fact, Defendants
refused to compensate Plaintiff or those similarly situated whatsoever for any
hours worked. Plaintiff, and those similarly situated, were only compensated in the
form of tips from club patrons. Moreover, Plaintiff and those similarly situated
were required to divide her tips with Defendants and other employees who do not
customarily receive tips. These were all done under the auspices whereby
Defendants violated the Fair Labor Standards Act and/or the Tip Income
Protection Act, 29 U.S.C. § 203 (“TIPA”) and by unlawfully seizing a portion of
Plaintiff’s tips. Therefore, Defendants have failed to compensate Plaintiff at the
federally-mandated minimum wage rate.
      3.     Defendants’ conduct violates the Fair Labor Standards Act (FLSA),
which requires non-exempt employees to be compensated for their overtime work
at a rate of one and one-half times their regular rate of pay. See 29 U.S.C. §
207(a). Defendants also required Plaintiff and to make certain payments to
Defendants’ employees and others which caused Plaintiff’s wages to drop below
the minimum wage and applicable overtime wage, thereby constituting an illegal
deduction under the FLSA. As a result of Defendants’ violation of the FLSA,
Plaintiff seeks all unpaid minimum and overtime wages, recovery of unlawful
deductions, liquidated damages, interest, and attorneys’ fees and costs pursuant to
29 U.S.C. § 216.
      4.     During her time being employed by Defendants, Plaintiff, and those
similarly situated, was denied minimum wage payments and denied overtime as
part of Defendants’ scheme to classify Plaintiff and other dancers as “independent
contractors.” As the Department of Labor explained in a recent Administrative
Interpretation:



                                         -2-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 3 of 30 PageID #: 3




            Misclassification of employees as independent contractors is
            found in an increasing number of workplaces in the United
            States, in part reflecting larger restructuring of business
            organizations. When employers improperly classify employees
            as independent contractors, the employees may not receive
            important workplace protections such as the minimum wage,
            overtime compensation, unemployment insurance, and
            workers’ compensation. Misclassification also results in lower
            tax revenues for government and an uneven playing field for
            employers who properly classify their workers. Although
            independent contracting relationships can be advantageous for
            workers and businesses, some employees may be intentionally
            misclassified as a means to cut costs and avoid compliance with
            labor laws.1

As alleged in more detail below, that is exactly what Defendant is doing in this case.

       5.      Plaintiff worked at Defendants’ club, “Wild Zebra” in Providence,
Rhode Island in the past three years.
       6.      Defendants failed to pay Plaintiff and those similarly situated
minimum wages and overtime wages for all hours worked in violation of 29
U.S.C. §§ 206 and 207 of the Fair Labor Standards Act, 29 U.S.C. § 201 et. seq.
(“FLSA”).
       7.      Defendants’ conduct violates the Fair Labor Standards Act (FLSA),
which requires non-exempt employees to be compensated for their overtime work
at a rate of one and one-half times their regular rate of pay. See 29 U.S.C. §
207(a).
       8.      Defendants’ practice of failing to pay tipped employees pursuant to
29 U.S.C. § 203(m), violates the FLSA’s minimum wage provision. See 29


1
     See DOL Admin. Interp. No. 2015-1, at
    http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.


                                           -3-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 4 of 30 PageID #: 4




U.S.C. § 206.
        9.    Defendants forcing Plaintiff and those similarly situated to pay House
Fees just to work further violates the FLSA.
        10.   Plaintiff brings a collective action to recover the unpaid overtime
compensation and minimum wages, stolen tips and illegal house fees owed to her
individually and on behalf of all other similarly situated employees, current and
former, of Defendants. Members of the Collective Action are hereinafter referred
to as “FLSA Class Members.”
        11.   As a result of Defendants’ violations, Plaintiff and the FLSA Class
Members seek to recover double damages for failure to pay minimum wage,
overtime liquidated damages, recover diverted income, interest, and attorneys’
fees.
II.     PARTIES
        12.   Plaintiff is an individual adult resident of the State of Massachusetts.
Plaintiff was employed by Defendants and qualifies as an “employee” of
Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her consent to this
action is attached hereto as Exhibit “1”.
        13.   Defendant BISCAYNE HOLDING CORP. d/b/a WILD ZEBRA
(“WZ”) is a Florida corporation with its principal place of business at 245 Allens
Ave., Providence, RI 02905. At all times mentioned herein, Wild Zebra was an
“employer” or “joint employer” of Plaintiff within the meaning of the FLSA, 29
U.S.C. § 203 (d) and (g). Wild Zebra’s agent for service of process is defendant
CHRISTOPHER VIANELLO and is identified to be located, via its filings with
the Rhode Island Secretary of State at 5944 Coral Ridge Drive #208, Coral
Springs, FL 33076.
        14.   Defendant CHRISTOPHER VIANELLO is an individual who resides
in Providence County, Rhode Island. He is the owner, controlling shareholder,

                                            -4-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 5 of 30 PageID #: 5




and exerts day to day management over the defendant entities BISCAYNE
HOLDIN CORP. D/B/A WILD ZEBRA through which he exerts operational and
management control over the Wild Zebra in Providence County Rhode Island.
Pursuant to an across the board, corporate wide policy dictated and enforced by
Defendants refuse to pay dancers-entertainers minimum wage and earned
overtime, by mischaracterizing them as “independent contractors.”
CHRISTOPHER VIANELLO, individually, also exerts day to day management
and operational control over Wild Zebra, and is frequently present at, and owns,
directs, controls and manages the operations at the three clubs.
      15.     Defendants’ entire business model was based on taking advantage of
Plaintiff by exploiting her and forcing her to participate in an invalid tip-pool with
Defendants and employees of Defendants.
      16.     Plaintiff is informed and believes that, at all relevant times herein,
Defendants engaged in the acts alleged herein and/or condoned, permitted,
authorized, and/or ratified the conduct of its employees and agents, and other
Defendants and are vicariously or strictly liable for the wrongful conduct of its
employees and agents as alleged herein.
      17.     Plaintiff is informed and believes, and on that basis alleges that, each
of the Defendants acted, in all respects pertinent to this action, as the agent or
employee of each other, and carried out a joint scheme, business plan, or policy in
all respect thereto and, therefore, the acts of each of these Defendants are legally
attributable to the other Defendants, and that these Defendants, in all respects,
acted as employer and/or joint employers of Plaintiff in that each of them
exercised control over her tips and the establishment’s forced tip pooling
procedures.
      18.     Plaintiff is informed and believes, and on that basis alleges that, at all
relevant times, each and every Defendant has been the agent, employee,

                                           -5-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 6 of 30 PageID #: 6




representative, servant, master, employer, owner, agent, joint venture, and alter
ego of each of the other and each was acting within the course and scope of his or
her ownership, agency, service, joint venture and employment.
        19.   At all times mentioned herein, each and every Defendant was the
successor of the other and each assumes the responsibility for the acts and
omissions of all other Defendants.
 III.   COVERAGE
        20.   At all material times, Defendants have been employers or “joint
employers” within the meaning of 3(d) of the FLSA. 29 U.S.C. § 203(d).
        21.   At all material times, Defendants have operated as a “single
enterprise” within the meaning of 3(r)(1) of the FLSA. 29 U.S.C. § 203(r)(1) and
29 C.F.R. § 1620.7 . That is, Defendants perform related activities through unified
operation and common control for a common business purpose. See Brennan v.
Arnheim and Neely, Inc., 410 U.S. 512, 515 (1973); Chao v. A-One Med. Servs.
Inc., 346 F.3d 908, 914-15 (9th Cir. 2003).
        22.   At all material times, Defendants have been an enterprise in
commerce or in the production of goods for commerce within the meaning of
3(r)(1) of the FLSA because they have had employees engaged in commerce and
sell liquor at their club which has travelled in interstate commerce. Moreover,
because of Defendants’ interrelated activities, they function in interstate
commerce. 29 U.S.C. § 203(s)(1).
        23.   Furthermore, Defendants have had, and continue to have, an annual
gross business volume in excess of the statutory standard.
        24.   At all material times during the three years prior to the filing of this
action, Defendants categorized all dancers/entertainers employed at “Wild Zebra”
and have failed and refused to pay wages or compensation to such
dancers/entertainers. Plaintiff was an individual employee who engaged in

                                           -6-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 7 of 30 PageID #: 7




commerce or in the production of goods for commerce as required by 29 USC
§ 206-207.
      25.    The primary job duties of the named Plaintiff, and all other dancers
similarly situated, consisted primarily of dancing on stage during a stage rotation,
performing personal dances (also called “lap dances” or “private dances” for
customers, and performing in “VIP” areas upon customer request).
      26.    Pursuant to the directions of the Defendants and/or their agents,
Defendants require entertainers to audition in order to be hired; however, an
entertainer’s physical appearance and not any level of dance, performance, or sales
skill determines her suitability to perform at Defendants’ clubs. Indeed, no prior
experience or training is required to be hired as a dancer-entertainer.
      27.    At all times relevant to this action, Plaintiff (and all those similarly
situated) was subject to corporate-wide, uniform written rules, guidelines, and
policies which were established by Defendants and their agents. The rules,
guidelines, and policies governed entertainers’ conduct at the club mentioned
herein.
      28.    Defendants exercised a great degree of operational control and
management over “Wild Zebra” particularly in terms of the conditions of
employment applicable to dancers/entertainers.
      29.    Defendant CHRISTOPHER VIANELLO is the owner, manager, and
president of defendant BISCAYNE HOLDING CORP.
      30.    As the owner, operator, and manager of Defendant BISCAYNE
HOLDING CORP. d/b/a WILD ZEBRA, he employed the Plaintiff, as an
employee who danced for and entertained customers.
      31.    Defendants CHRISTOPHER VIANELLO controlled the nature, pay
structure, and employment relationship of Plaintiff, at “WZ.”
      32.    Further, defendant CHRISTOPHER VIANELLO had, at all times

                                          -7-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 8 of 30 PageID #: 8




relevant to this lawsuit, the authority to hire and fire employees at “Wild Zebra,”
the authority to direct and supervise the work of employees, the authority to sign
on the businesses’ checking accounts, including payroll accounts, and the
authority to make decisions regarding employee compensation and capital
expenditures. Additionally, they were responsible for the day-to-day affairs of
“Wild Zebra.” In particular, they were responsible for determining whether “Wild
Zebra” complied with the Fair Labor Standards Act.
      33.      As such, pursuant to 29 U.S.C. § 203(d), defendant CHRISTOPHER
VIANELLO acted directly or indirectly in the interest of Plaintiff’s employment
as her employer, which makes him individually liable under the FLSA.
VI.   VENUE AND JURSIDICTION
      34.      This Court has jurisdiction over the subject matter of this action
under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.S.C. §
201, et seq.
      35.      Venue is proper in this District because all or a substantial portion of
the events forming the basis of this action occurred in this District. Defendants’
clubs are located in this District and Plaintiff, and all those similarly situated,
worked in this District.
V.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                             (AGAINST ALL DEFENDANTS)
      A.       FACTUAL ALLEGATIONS
      36.      Defendants operate an adult entertainment club in Providence
County, Rhode Island under the name of “Wild Zebra.”
      37.      Defendants employ exotic dancers at this location.
      38.      Plaintiff was previously employed as an exotic dancer at Defendants'
adult entertainment club “Wild Zebra.”
      39.      Plaintiff, and those similarly situated, worked on a regular basis for

                                           -8-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 9 of 30 PageID #: 9




Defendants’ establishments located in Providence County known as “Wild Zebra.”
      40.   The job of an exotic dancer is to perform on stage, perform table
dancers, and entertain customers in a “VIP” area of the Defendants’ clubs.
      41.   Plaintiff was compensated exclusively through tips from Defendants’
customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
worked at their establishments.
      42.   Furthermore, Defendants charged the Plaintiff a “house fee” per shift
worked. Defendants also required Plaintiff to share her tips with other non-service
employees who do not customarily receive tips, including the managers, disc
jockeys, and the bouncers.
      43.   Defendants illegally classified the dancers as independent contractors.
However, at all times, Plaintiff was an employee of Defendants.
      44.   Defendants hired/fired, issued pay, supervised, directed, disciplined,
scheduled and performed all other duties generally associated with that of an
employer with regard to the dancers.
      45.   In addition, Defendants instructed the dancers about when, where,
and how they were to perform their work.
      46.   Defendants exercised significant control over the misclassified
Plaintiff and the Collective through written and unwritten policies and procedures.
The following further demonstrates the dancers’ status as employees:
            a.     Defendants have the sole right to hire and fire the dancers;
            b.     Defendants required dancers to complete an employee
                   application as a prerequisite to their employment at “Wild
                   Zebra”;
            c.     Defendants made the decision not to pay overtime;
            d.     Defendants provide the dancers with music equipment and a
                   performing stage;

                                        -9-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 10 of 30 PageID #: 10




             e.    Defendants supervise the dancers, and required Plaintiff and
                   those similarly situated to dance on stage according to a stage
                   rotation established by the Defendants or their agents, including
                   the Disc Jockey (“DJ”); dancers, including Plaintiff were
                   required to dance when their name was called, and dancers
                   were not allowed to choose which songs were played;
             f.    Plaintiff has not made a financial investment with or in
                   Defendants’ business; Defendants financed all advertising and
                   marketing efforts undertaken on behalf of “Wild Zebra and
                   made all capital investments in the facilities, maintenance,
                   sound system, lights, food, beverage, and inventory, and made
                   all hiring decisions regarding waitstaff, security, entertainers,
                   managerial, and other employees at “Wild Zebra; Plaintiff and
                   those similarly situated were not allowed by Defendants or their
                   agents to choose the songs that were played when they danced;
             g.    Defendants schedule dancers, and required dancers to show up
                   for work at a specific time, with a schedule issued in advance
                   and as such have sole control over their opportunity for profit;
             h.    Defendants suspended dancers for violations of their rules of
                   conduct, including issuing fines to dancers who came to work
                   late;
             i.    Defendants set the prices for house fees, dances, and tip outs;
                   the price for a personal dance was the same regardless of which
                   entertainer performed the dance, and Plaintiffs, and those
                   similarly situated, were not allowed to charge a different price
                   than the price established by Defendants; the prices for personal
                   dances (“lap dances”) or private room (“VIP”) dances was also

                                        -10-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 11 of 30 PageID #: 11




                     set by the Defendants and was the same regardless of which
                     dancer was performing a personal dance or spending time in
                     VIP with a customer;
              j.     In addition to house fees, pursuant to the directions of the
                     Defendants and/or their agents, Plaintiff and all other
                     dancers/entertainers at “Wild Zebra were also required to pay
                     “tip outs” each night the worked;
              k.     The dancers were hired as permanent employees and many
                     have worked for Defendants for years; and
              l.     Little or no skill was required for the work Plaintiff or those
                     similarly situated was required to perform at Defendants’ clubs.
       47.    Defendants misclassified Plaintiff as an independent contractor to
 avoid Defendants' obligation to pay her pursuant to the Fair Labor Standards Act,
 and Plaintiff was dependent upon customers tips, making her opportunity for
 profit or loss a function of how much money customers have and are willing to
 spend and how much Defendants required Plaintiff to pay in order to work.
       48.    At all times pertinent to this action, Defendants regulated
 entertainers’ attire and interactions with customers.
       49.    Pursuant to the direction of the Defendants and/or their agents,
 Plaintiffs and all other dancers/entertainers at the Defendants’ clubs were required
 to show up for work at a specific time, and to make up a schedule in advance. If
 entertainers are late for work, fail to appear for a scheduled shift, or are deemed to
 have violated any of the Club’s rules, they are charged additional fees or fines.
       50.    Plaintiff, and the members of the collective she seeks to represent,
 has been subject to a variety of these fees and fines during the last three years; the
 fees and fines constitute unlawful “kickbacks” to the employer within the meaning
 of the Fair Labor Standards Act, and Plaintiff and the collective are entitled to

                                          -11-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 12 of 30 PageID #: 12




 restitution of all such fees and fines.
        51.    Defendants’ primary business purpose is to make money; they do so
 by attracting customers who wish to see women nude or in various stages of
 undress. The services performed by dancers/entertainers are integral to the success
 of the Defendants and “Wild Zebra.”
        52.    Pursuant to the directions of the Defendants and/or their agents,
 entertainers at “Wild Zebra” were not allowed to hire subcontractors to perform
 their duties for them. The right to dance as an entertainer at Defendants’ club was
 a personal right, and only people hired by Defendants’ managerial staff were
 allowed to perform at Defendants’ club.
        53.    Plaintiff worked over forty hours in some weeks she worked for
 Defendants.
        54.    Defendants have never paid Plaintiff any amount as wages
 whatsoever, and have instead unlawfully required Plaintiff to pay for the privilege
 of working.
        55.    The only source of monies received by Plaintiff relative to her
 employment with Defendants came in the form of gratuities received directly from
 customers, a portion of which she was required to pay to Defendants.
        56.    Although Plaintiff was required to and do in fact frequently worked
 more than forty (40) hours per workweek, she was not compensated at the FLSA
 mandated time-and-a-half rate for hours in excess of forty (40) per workweek. In
 fact, she received no compensation whatsoever from Defendants and thus,
 Defendants violate the minimum wage requirement of FLSA. See 29 U.S.C. §
 206.
        57.    Defendants' method of paying Plaintiff in violation of the FLSA was
 willful and was not based on a good faith and reasonable belief that its conduct
 complied with the FLSA. Defendants misclassified Plaintiff with the sole intent to

                                           -12-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 13 of 30 PageID #: 13




 avoid paying her in accordance to the FLSA; the fees and fines described herein
 constitute unlawful “kickbacks” to the employer within the meaning of the FLSA,
 and Plaintiff is entitled to restitution of such fines and fees.
       58.    Defendants never took possession of the payments made to Plaintiff
 or those similarly situated.
       59.    Defendants failed to include Plaintiff’s earnings, or those earnings
 from those similarly situated to Plaintiff, in Defendants’ gross receipts for tax or
 accounting purposes.
       60.    The FLSA “economic realities” test has existed for decades, as have
 the FLSA requirements of paying minimum wage and overtime to employees.
       61.    Defendants’ failure to comply with the FLSA in all respects,
 including the misclassification scheme at issue in this lawsuit, is, and was, willful.
       62.    Defendants knew, or showed reckless disregard for the fact that they
 misclassified dancers as independent contractors, and accordingly failed to pay
 dancers the minimum wage and overtime wage at the required rate under the
 FLSA and unlawfully deducted tip-outs and “house fees” from their pay.
       63.    The Plaintiff, and those she seeks to represent, was/were not covered
 by any minimum or overtime wage exemption contained in the FLSA.
       64.    Defendants failed to keep adequate records of Plaintiff's and FLSA
 Class Members’ work hours and pay in violation of section 211(c) of the Fair
 Labor Standards Act. See 29 U.S.C. § 211(c).
       65.    Federal law mandates that an employer is required to keep for three
 (3) years all payroll records and other records containing, among other things, the
 following information:
              a.     The time of day and day of week on which the employees' work
                     week begins;
              b.     The regular hourly rate of pay for any workweek in which

                                            -13-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 14 of 30 PageID #: 14




                    overtime compensation is due under section 7(a) of the FLSA;
              c.    An explanation of the basis of pay by indicating the monetary
                    amount paid on a per hour, per day, per week, or other basis;
              d.    The amount and nature of each payment which, pursuant to
                    section 7(e) of the FLSA, is excluded from the "regular rate";
              e.    The hours worked each workday and total hours worked each
                    workweek;
              f.    The total daily or weekly straight time earnings or wages due
                    for hours worked during the workday or workweek, exclusive
                    of premium overtime compensation;
              g.    The total premium for overtime hours. This amount excludes
                    the straight-time earnings for overtime hours recorded under
                    this section;
              h.    The total additions to or deductions from wages paid each pay
                    period including employee purchase orders or wage
                    assignments;
              i.    The dates, amounts, and nature of the items which make up the
                    total additions and deductions;
              j.    The total wages paid each pay period; and
              k.    The date of payment and the pay period covered by payment.
 29 C.F.R. 516.2, 516.5.
       66.    Defendants have not complied with Federal Law and have failed to
 maintain such records with respect to the Plaintiff. Because Defendants’ records
 are inaccurate and/or inadequate, Plaintiff and those similarly-situated can meet
 their burden under the FLSA by proving that they, in fact, performed work for
 which they were improperly compensated, and produce sufficient evidence to
 show the amount and extent of their work “as a matter of a just and reasonable

                                         -14-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 15 of 30 PageID #: 15




 inference.” See, e.g., Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687
 (1946). Plaintiff seeks to put Defendants on notice that she intends to rely on Mt.
 Clemens Pottery Co. to provide the extent of her unpaid work.
       B.     INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
       67.    In Perez v. Lorraine Enterprises, Inc., the U.S. Court of Appeals for
 the First Circuit held that individuals can be liable for FLSA violations. ” Perez v.
 Lorraine Enterprises, Inc., 769 F.3d 23, 31-32 (1st Cir. 2014). The FLSA defines
 “employer” as “any person acting directly or indirectly in the interest of an
 employer in relation to an employee.” 29 U.S.C. § 203(d). The Ninth Circuit
 stated that the definition of “employer” under FLSA is not limited by the common
 law concept of “employer” but “is to be given an expansive interpretation in order
 to effectuate the FLSA’s broad remedial purposes.”
       68.    Where an individual exercises “control over the nature and structure
 of the employment relationship,” or “economic control” over the relationship, that
 individual is an employer within the meaning of the FLSA, and is subject to
 liability. Lambert v. Ackerley (9th Cir. 1999) 180 F.3d 997. See also Manning v.
 Bos. Med. Ctr. Corp. 725 F.3d 34, 47 (1st Cir. 2013).
       69.    As explained above, CHRISTOPHER VIANELLO set the policies
 above, enforced the policies above and directly caused the dancers not to be paid
 minimum wage, charged house fees and the illegal tip pooling. Defendant
 CHRISTOPHER VIANELLO is individually liable for failing to pay Plaintiff and
 the prospective FLSA Class members their wages.
 VII. COLLECTIVE ACTION ALLEGATIONS
       70.    Plaintiff hereby incorporates by reference and re-alleges each and
 every allegation set forth in each and every preceding paragraph of this Demand,
 as though fully set forth herein.
       71.    Plaintiff brings this action as an FLSA collective action pursuant to

                                          -15-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 16 of 30 PageID #: 16




 29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
 Defendants as exotic dancers at any time during the three (3) years prior to the
 commencement of this action to present.
       72.    Plaintiff has actual knowledge that FLSA Class Members have also
 been denied overtime pay for hours worked over forty hours per workweek, forced
 to pay illegal house fees, had gratuities and tips pooled and/or illegally diverted
 and have been denied pay at the federally-mandated minimum wage rate. That is,
 Plaintiff worked with other dancers at “Wild Zebra.” As such, she has first-hand
 personal knowledge of the same pay violations throughout Defendants’ clubs.
       73.    Other employees similarly situated to the Plaintiff work or have
 worked at “Wild Zebra” but were not paid overtime at the rate of one and one-half
 their regular rate when those hours exceeded forty hours per workweek. The other
 similarly situated dancers were forced to pay Defendants “house fees” to work and
 had their tips pooled or diverted. Furthermore, these same employees were denied
 pay at the federally-mandated minimum wage rate.
       74.    Although Defendants permitted and/or required the FLSA Class
 Members to work in excess of forty hours per workweek, Defendants have denied
 them full compensation for their hours worked over forty per week. Defendants
 have also denied them full compensation at the federally-mandated minimum
 wage rate.
       75.    FLSA Class Members perform or have performed the same or similar
 work as the Plaintiff - dancing and entertaining at Defendants’ club.
       76.    FLSA Class Members regularly work or have worked in excess of
 forty hours during a workweek.
       77.    The FLSA class members were all subject to the same terms and
 conditions of employment, and the same degree of control, direction, supervision
 imposed by Defendants.

                                          -16-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 17 of 30 PageID #: 17




       78.    FLSA Class Members regularly work or have worked and did not
 receive minimum wage.
       79.    FLSA Class Members regularly were forced to pay “house fees” in
 order to work.
       80.    FLSA Class Members regularly had their tips both pooled and
 diverted.
       81.    FLSA Class Members are not exempt from receiving overtime and/or
 pay at the federally-mandated minimum wage rate under the FLSA.
       82.    As such, FLSA Class Members are similar to Plaintiff in terms of job
 duties, pay structure, misclassification as independent contractors and/or the denial
 of overtime and minimum wage.
       83.    Defendants’ failure to pay overtime compensation and hours worked
 at the minimum wage rate required by the FLSA results from generally applicable
 policies or practices, and does not depend on the personal circumstances of the
 FLSA Class Members.
       84.    The experiences of the Plaintiff, with respect to her pay, are typical of
 the experiences of the FLSA Class Members.
       85.    The specific job titles or precise job responsibilities of each FLSA
 Class Member does not prevent collective treatment.
       86.    All FLSA Class Members, irrespective of their particular job
 requirements, are entitled to overtime compensation for hours worked in excess of
 forty (40) during a workweek.
       87.    All FLSA Class Members, irrespective of their particular job
 requirements, are entitled to compensation for hours worked at the federally-
 mandated minimum wage rate.
       88.    Although the exact number of damages may vary among FLSA Class
 Members, the damages for the FLSA Class Members can be easily calculated by a

                                          -17-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 18 of 30 PageID #: 18




 simple formula. The claims of all FLSA Class Members arise from a common
 nucleus of facts. Liability is based on a systematic course of wrongful conduct by
 the Defendant that caused harm to all FLSA Class Members.
       89.    Named Plaintiff is “similarly situated” to the class of persons she
 seeks to represent, and will adequately represent the interests of the class.
       90.    Plaintiff has hired counsel experienced in labor and employment
 cases and collective actions under 29 U.S.C. 216(b) who will adequately represent
 the class.
       91.    As such, Plaintiff brings her FLSA claims as a collective action on
 behalf of the following class:
          All of Defendants’ current and former exotic dancers who
          worked at the Wild Zebra Providence County at any time
          starting three years before this Complaint was filed.
 VIII. CAUSES OF ACTION
                            FIRST CAUSE OF ACTION
      FAILURE TO PAY MINIMUM WAGE PURSUANT TO FLSA, 29 U.S.C. § 206
                             (AGAINST ALL DEFENDANTS)
       92.    Plaintiff hereby incorporates by reference and re-alleges each and
 every allegation set forth in each and every preceding paragraph of this Complaint,
 as though fully set forth herein.
       93.    Defendants are or were the “employer” or joint-employers and
 employ(ed) Plaintiff and those similarly situated, and Plaintiff and those similarly
 situated were the “employees” those “employers” within the meaning of the
 FLSA, 29 U.S.C. § 203(d).
       94.    Defendants are engaged in “commerce” and/or the production of
 “goods” for “commerce.”
       95.    Defendants are an enterprise engaged in commerce within the

                                          -18-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 19 of 30 PageID #: 19




 meaning of the FLSA, 29 U.S.C. § 203(s)(1), because they have employees
 engaged in commerce, and because their annual gross volume of sales made is
 more than $500,000.
       96.    Plaintiff consented to sue in this action pursuant to 29 U.S.C. §
 216(b). Written Consent to sue executed by Plaintiff was submitted herewith.
       97.    Defendants misclassified Plaintiff as independent contractor.
       98.    Defendants failed to pay Plaintiff and all other similarly situated
 wages at a rate of one and one-half (1 ½) times her regular rate, for hours worked
 in excess of forty (4) hours per week, in violation of 29 U.S.C. § 207.
       99.    Defendants knowingly, intentionally and willfully violated the FLSA.
       100. Defendants’ mischaracterization of Plaintiff as “independent
 contractors,” with the consequence of having failed to pay them premium
 overtime compensation for hours worked in excess of 40 hours per work week,
 constitutes a willful violation of the FLSA, and Defendants did not rely on any
 determinations or rulings of the U.S. Department of Labor in utilizing same.
       101. Due to Defendants’ FLSA violations, Plaintiff and all other similarly
 situated are entitled to recover from Defendants, as well as reasonable attorneys’
 fees and costs of the action, including interest, pursuant to 29 U.S.C. § 216(b), all
 in an amount to be determined at trial.
       102. Defendants’ practice of failing to pay Plaintiff time-and-a-half rate
 for hours in excess of forty (40) per workweek violates the FLSA. 29 U.S.C.
 § 207. In fact, Defendants do not compensate them whatsoever for any hours
 worked.
       103. In at least one-week, Plaintiffs worked more than 40 hours per week,
 but were not compensated at all by Defendants
       104. None of the exemptions provided by the FLSA regulating the duty of
 employers to pay overtime at a rate not less than one and one-half times the

                                           -19-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 20 of 30 PageID #: 20




 regular rate at which its employees are employed are applicable to the Defendants
 or the Plaintiff.
        105. Due to Defendants’ FLSA violations, Plaintiff and the FLSA Class
 Members are entitled to recover from Defendants, minimum wage compensation
 of $7.25 per hour, and an equal amount in the form of liquidated damages, as well
 as reasonable attorneys’ fees and costs of the action, including interest, pursuant to
 29 U.S.C. § 216(b), all in an amount to be determined at trial.
                           SECOND CAUSE OF ACTION
     FAILURE TO PAY OVERTIME WAGES PURSUANT TO FLSA, 29 U.S.C. § 207
                             (AGAINST ALL DEFENDANTS)
        106. Plaintiff hereby incorporates by reference and re-alleges each and
 every allegation set forth in each and every preceding paragraph of this Demand,
 as though fully set forth herein.
        107. Each Defendant is an “employer” or “joint employer” of Plaintiff
 within the meaning of the FLSA, 29 U.S.C. § 203(d).
        108. Defendants are engaged in “commerce” and/or in the production of
 “goods” for “commerce” as those terms are defined in the FLSA.
        109. Defendants operate an enterprise engaged in commerce within the
 meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in
 commerce, and because its annual gross volume of sales made is more than five
 hundred thousand U.S. Dollars ($500,000.00).
        110. Defendants failed to pay Plaintiff the applicable overtime wage for
 each hour in excess of forty (40) during each workweek in which she worked in
 violation of 29 U.S.C. § 207.
        111. Defendants’ practice of failing to pay Plaintiff at the required
 minimum wage rate violates the FLSA. 29 U.S.C. § 206. In fact, Defendants do
 not compensate dancers whatsoever for any hours worked.

                                          -20-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 21 of 30 PageID #: 21




       112. None of the exemptions provided by the FLSA regulating the duty of
 employers to pay employees for all hours worked at the required minimum wage
 rate are applicable to the Defendants or the Plaintiff.
       113. Based upon the conduct alleged herein, Defendants knowingly,
 intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
 wage required under the FLSA.
       114. Throughout the relevant period of this lawsuit, there is no evidence
 that Defendants’ conduct which gave rise to this action was in good faith and
 based on reasonable grounds. In fact, Defendants continued to violate the FLSA
 long after it learned that its misclassification scheme and compensation policies
 were unlawful.
       115. Due to Defendants’ FLSA violations, Plaintiff and the FLSA Class
 Members are entitled to recover from Defendants, overtime wage compensation
 and an equal amount in the form of liquidated damages, as well as reasonable
 attorneys’ fees and costs of the action, including interest, pursuant to 29 U.S.C. §
 216(b).
                            THIRD CAUSE OF ACTION
           UNLAWFUL TAKING OF TIPS IN VIOLATION OF 29 U.S.C. § 203
                             (AGAINST ALL DEFENDANTS)
       116. Plaintiff hereby incorporates by reference and re-alleges each and
 every allegation set forth in each and every preceding paragraph of this Demand,
 as though fully set forth herein.
       117. Plaintiff customarily and regularly received more than thirty U.S.
 Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
 the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
       118. At all relevant times, each Defendant is an “employer” or joint
 employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).

                                          -21-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 22 of 30 PageID #: 22




       119. Defendants are engaged in “commerce” and/or in the production of
 “goods” for “commerce” as those terms are defined in the FLSA.
       120. Defendants operate an enterprise engaged in commerce within the
 meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 in commerce, and because its annual gross volume of sales made is more than five
 hundred thousand U.S. Dollars ($500,000).
       121. Tips belong to the employee: Plaintiff is entitled to recover payments
 made by Plaintiff to the Club and its employees and workers because such
 payments reduced her wages below the minimum and overtime wage. These
 types of illegal “kick-backs” that the dancers paid from their tips in order to
 work are recoverable as part of Plaintiffs’ wage loss under 29 C.F.R. § 531.35.

        Unlawful “kick-backs” must be returned to Plaintiffs to bring their lost
        wages up to zero, and not leave them at a negative number. Reich
        v. Priba Corp., 890 F. Supp. 586, 595 (N.D. Tex. 1995). “The FLSA does
        not permit an employer to transfer to its employees the responsibility
        for the expenses of carrying on an enterprise.” Id. To fully compensate a
        minimum wage employee where the employer has improperly required
        him to pay kickbacks, the Defendant employer must pay the full
        minimum wage for all time worked, in addition to all fees collected. Id.;
        Reich v. Circle C Investments, Inc., 998 F.2d 324, 330 (5th Cir. 1993);
        Richard Martin, No. 13-CV-4242-RWS, at *9 (N.D. Ga. Nov. 20, 2015).

        Under the FLSA, wages must be paid “finally and unconditionally” or “free
  and clear” of any direct or indirect “kickbacks.” 29 C.F.R. § 531.35 states:

        Whether in cash or in facilities, ‘wages’ cannot be considered to have been
        paid by the employer and received by the employee unless they are paid
        finally and unconditionally or ‘free and clear.’ The wage requirements
        of the Act will not be met where the employee ‘kicks back’ directly or
        indirectly to the employer or to another person for the employer’s benefit
        the whole or part of the wage delivered to the employee. This is true
        whether the ‘kick back’ is made in cash or in any way other than cash. . .

                                          -22-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 23 of 30 PageID #: 23




        . [T]here would be a violation of the Act in any work week when the cost
        . . . by the employee cuts into the minimum or overtime wage required to
        be paid . . . under the Act.

        Wages under the FLSA must be received “free and clear” of any improper
  deduction. Arriaga v. Florida Pacific Farms, LLC, 305 F.3d 1228, 1241 (11th
  Cir. 2002. “[R]equiring employees to pay for expenses incurred for the benefit
  of the employer functions as a de facto wage deduction.” De Leon-Granados v.
  Eller & Sons Trees, Inc., 581 F. Supp. 2d 1295, 1315 (N.D. Ga. 2008). In fact,
  there is “no difference between deducting an expense and failing to reimburse an
  expense.” Id.
        The mandatory payment of house fees and “tip-out” fees required to be paid
  by entertainers are the exact type of unlawful “kickbacks” prohibited by the FLSA.
  These payments are recoverable as part of a FLSA wage claim to the extent they
  reduce the employee’s wage below the minimum or overtime rate. Reich v. Priba
  Corp., 890 F. Supp. 586, 595 (N.D.Tex. 1995); Reich v. Circle C Investments, Inc.,
  998 F.2d 324, 330 (5th Cir. 1993); Hart v. Rick’s Cabaret International, Inc.,
  60 F. Supp. 3d 447, 477 (S.D.N.Y. 2014). The clubs “practice of collecting a
  tip out fee . . . violates the FLSA because the deduction further reduces the
  entertainers’ wages below the minimum wage.” Reich., 890 F. Supp. at 595.
  “[T]o fully compensate the entertainers in the amounts required by the FLSA,
  [the club] must pay them the full minimum wage for all time worked during the
  limitations period. In addition, the club must return all tip out fees collected
  from the entertainers.” Id. (“[T]he Court agrees with Plaintiffs that ‘the method
  of calculating Defendants’ back wage liability at trial should be (1) $7.25 per
  hour worked, plus (2) all [house fees] paid by Plaintiffs to Defendants . . . .”);
  Roger Wilson v. 1400 Northside Drive, Inc., C.A. No. 1:15-CV-4453, *21 (June
  15, 2017 N.D. Ga.).


                                          -23-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 24 of 30 PageID #: 24




       122. Plaintiff’s (and those similarly situated) post-March 2018
 employment is covered by the TIPA. Under TIPA:
       Under TIPA:

       [a]n employer may not keep tips received by its employees for any
       purpose including allowing managers or supervisors to keep any
       portion of employees’ tips, regardless of whether or not it takes a tip
       credit.

       29 U.S.C. § 203.

       123. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 customers in the form of fees, fines, mandatory charges and other payments to
 management, house moms, DJ and floor men in violation of TIPA.
       124. Defendants required Plaintiff to participate in an illegal tip pool,
 which included employees who do not customarily and regularly receive tips, and
 do not have more than a de minimis, if any, interaction with customer leaving the
 tips (such as the Club DJ, security, and management). See U.S. Dep’t of Labor,
 Wage and Hour Division, “Fact Sheet # 15: Tipped employees under the Fair
 Labor Standards Act (FLSA).”
       125. The contribution the Defendants required Plaintiff to make after each
 shift was arbitrary and capricious, and distribution was not agreed to by Plaintiff
 other dancers; but rather, was imposed upon Plaintiff and other dancers.
       126. By requiring Plaintiff to pool her tips with club management,
 including the individual Defendants named herein, Defendants “retained” a
 portion of the tips received by Plaintiff in violation of the FLSA.
       127. Defendants did not make any effort, let alone a “good faith” effort, to
 comply with the FLSA as it relates to compensation owed to Plaintiff.
       128. At the time of their illegal conduct, Defendants knew or showed


                                          -24-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 25 of 30 PageID #: 25




 reckless disregard that the tip-pool which they required Plaintiff to contribute
 included non-tipped employees and, therefore, was statutorily illegal. In spite of
 this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
 the tips to which she was entitled.
       129. Defendants’ willful failure and refusal to pay Plaintiff the tips she
 earned violates the FLSA.
       130. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 customers in the form of fees, fines, mandatory charges and other payments to
 management, house moms, DJs, and door men in violation of TIPA.
       131. As a result of the acts and omissions of the Defendants as alleged
 herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
 damages in the form of all misappropriated tips, plus interest; as liquated damages,
 an amount equal to all misappropriated tips, mandatory attorneys’ fees, costs, and
 expenses.
       132. As a result of Defendants’ willful violation of TIPA, Plaintiff and the
 FLSA Class Members are entitled to recover, under the FLSA and TIPA, all tips
 kept by the employer, any tip credit claimed by Defendants, an equal amount in
 liquidated damages and attorneys’ fees.
                          FOURTH CAUSE OF ACTION
                               FAILURE TO PAY WAGES
                IN VIOLATION OF R.I. GEN. LAWS §§ 28-14-2 & 28-14-19.2

                             (AGAINST ALL DEFENDANTS)
       133. Plaintiff hereby incorporates by reference and re-alleges each and
 every allegation set forth in each and every preceding paragraph of this Demand,
 as though fully set forth herein.
       134. Plaintiff was an “employee” of Defendants, not subject to exemption,
 under the Rhode Island Minimum Wage Act, R.I.G.L § 28-12-1 et seq., and Rhode

                                           -25-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 26 of 30 PageID #: 26




 Island Payment of Wages Act, R.I.G.L § 28-14-1 et seq. (together, the “Wage
 Acts”).
       135. Defendants were each an “employer” of Plaintiff, acting directly or
 indirectly in the interest of an employer in relation to Plaintiff, as defined in the
 Wage Acts.
       136. Each Defendant, and/or his/its designee, has been at all relevant times
 responsible for establishing the wage and hour policies, and for determining,
 calculating, and paying wages to Defendants’ employees.
       137. Each Defendant was involved in making key decisions regarding
 Defendants’ pay policies and practices.
       138. On numerous occasions, Defendants failed to pay Plaintiff any wages
 in violation of the Wage Acts.
       139. Defendants are jointly and severally liable to Plaintiff for the unpaid
 wages, including unpaid commissions and unpaid hours worked, due him in an
 amount to be determined at trial.
       140. Defendants are also jointly and severally liable to Plaintiff for
 liquidated damages in an amount equal to two times the total unpaid wage as well
 as attorneys’ fees, costs, interest, and all other relief deemed just and proper.
                            FIFTH CAUSE OF ACTION
                              FAILURE TO PAY OVERTIME
              IN VIOLATION OF R.I. GEN. LAWS §§ 28-12-4.1 and 28-14-19.2

                             (AGAINST ALL DEFENDANTS)
       141. Plaintiff hereby incorporates by reference and re-alleges each and
 every allegation set forth in each and every preceding paragraph of this Demand,
 as though fully set forth herein.
       142. Plaintiff regularly worked Overtime Hours for Defendants.
       143. Defendants failed to pay Plaintiff any wages for the Overtime Hours

                                           -26-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 27 of 30 PageID #: 27




 she worked, in violation of the Wage Acts.
       144. Defendants failed to pay Plaintiff Overtime Pay for the Overtime
 Hours she worked, in violation of the Wage Acts.
       145. Defendants were aware that Plaintiff worked Overtime Hours but was
 not paid Overtime Pay.
       146. Defendants acted willfully or with reckless disregard as to their
 obligation to pay Plaintiff Overtime Pay for Overtime Hours he worked.
       147. As a result of Defendants’ willful failure and refusal to pay Plaintiff
 Overtime Pay for all Overtime Hours she worked, Plaintiff sustained economic
 and other damages.
       148. Defendants are jointly and severally liable to Plaintiff for their willful
 failure and refusal to pay her Overtime Pay in accordance with the Wage Acts in
 an amount equal to the unpaid Overtime Pay.
       149. Defendants are also jointly and severally liable to Plaintiff for
 liquidated damages in an amount equal to two times the total unpaid Overtime Pay
 as well as attorneys’ fees, costs, interest, and all other relief deemed just and
 proper.




                                           -27-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 28 of 30 PageID #: 28




                             PRAYER FOR RELIEF
       WHEREFORE, Plaintiff, individually and on behalf of the FLSA Class, prays
 for relief and judgment as follows:
             1.     Certifying the Class as requested herein;
             2.     Appointing Plaintiffs and their counsel to represent the Class;
       In addition, Plaintiff, and the FLSA Class Members pray for further
 judgment as follows:
             3.     As to Count I, award Plaintiff and the FLSA Class Members
       judgment for wages at the minimum rate, including the recovery of all
       payments reducing wages below the minimum wage, as well as liquidated
       damages, interest and attorneys’ fees as provided for under the FLSA;
             4.     As to Count II, award Plaintiff and the FLSA Class Members
       judgment for overtime wages, including the recovery of all payments
       reducing wages below the overtime wage, as well as liquidated damages in
       an equal amount, interest and attorneys’ fees as provided for under the
       FLSA;
             5.     As to Count III, award Plaintiff and the FLSA Class Members
       judgment for the recovery of all tips kept by the employer, the amount of
       any tip credit claimed by Defendants, an equal amount in liquidated

                                         -28-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 29 of 30 PageID #: 29




       damages and reasonable attorneys; fees under the FLSA and TIPA;
             In addition, Plaintiff prays for further judgment as follows:
             6.      As to Count IV, award Plaintiff unpaid wages and liquidated
       damages in an amount double the unpaid wages;
             7.      As to Count V, award Plaintiff unpaid overtime and liquidated
       damages in an amount double the unpaid overtime wages;
             8.      Award Plaintiff and the FLSA Class Members the costs of this
       action, including expert fees;
             9.      Award Plaintiff and the FLSA Class Members interest;
             10.     Award Plaintiff and the FLSA Class Members attorneys’ fees;
             11.     For equitable and injunctive relief, including public injunctive
       relief; and
             12.     Award Plaintiff all other and further relief as the Court may
       deem just and proper.

  Dated: October 18, 2019               MULLER LAW, LLC

                                        /s/ Chip Muller
                                        Chip Muller
                                        47 Wood Avenue
                                        Barrington, RI 02806
                                        Tel: 401-256-5171
                                        Fax: 401-256-5178
                                        chip@mullerlaw.com
                                        &
  Dated: October 18, 2019               KRISTENSEN WEISBERG, LLP

                                        /s/ John P. Kristensen
                                        John P. Kristensen (Pro Hac Vice Pending)
                                        California Bar No. 266555
                                        Jacob J. Ventura (Pro Hac Vice Pending)
                                        BBO# 699953


                                            -29-
Case 1:19-cv-00561-WES-PAS Document 1 Filed 10/18/19 Page 30 of 30 PageID #: 30




                                        12540 Beatrice Street, Suite 200
                                        Los Angeles, CA 90066
                                        Tel: 310-507-7924
                                        john@kristensenlaw.com
                                        jacob@kristensenlaw.com
                                        &
  Dated: October 18, 2019               FLYNN LAW FIRM, LLC

                                          /s/ Jonah A. Flynn
                                          Jonah A. Flynn (Pro Hac Vice Pending)
                                          Georgia Bar No. 266555
                                          4200 Northside Pkwy NW
                                          Building One, Suite 200
                                          Atlanta, GA 30327
                                          Tel: 404-835-9660
                                          Fax: 404-835-6005
                                          jflynn@flynnlaw.com
                                        Attorneys for Plaintiff and all others
                                        similarly situated
                           DEMAND FOR JURY TRIAL
         Plaintiff hereby demands a trial by jury on all issues which may be tried by a
 jury.

  Dated: October 18, 2019                MULLER LAW, LLC, KRISTENSEN
                                         WEISBERG, LLP & FLYNN LAW FIRM,
                                         LLC

                                         /s/ Chip Muller
                                         Chip Muller
                                         John P. Kristensen
                                         Jonah A. Flynn
                                         Attorneys for Plaintiff and all others
                                         similarly situated




                                           -30-
